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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,                       CRIMINAL NO. 05-80955

v.                                            HONORABLE AVERN COHN

D-20, CALVIN SPARKS,

             Defendant.
                                       /


                                ORDER REVOKING BOND

      On November 03, 2006 the Court held a bond review hearing in this matter, for the

reasons stated on the record,

      IT IS HEREBY ORDERED that the bond is REVOKED.

      IT IS FURTHER ORDERED that the defendant be remanded to the custody of the

United States Marshal forthwith.

      SO ORDERED.



Dated: November 03, 2006                   s/ Avern Cohn
                                           AVERN COHN
                                           UNITED STATES DISTRICT JUDGE
